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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                         ABINGDON DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
                                                    )    Case No. 1:08CR00024-041
                                                    )
v.                                                  )           OPINION
                                                    )
BRUCE EDWARD BAUMGARDNER,                           )    By: James P. Jones
                                                    )    United States District Judge
                  Defendant.                        )

      Zachery T. Lee, Assistant United States Attorney, Abingdon, Virginia, for
United States; Bruce Edward Baumgardner, Pro Se Defendant.

       Defendant, a federal inmate proceeding pro se, filed a timely Motion to

Vacate, Set Aside, or Correct Sentence pursuant to 28 U.S.C. § 2255, challenging

his convictions based on certain alleged evidentiary deficiencies. He has also

moved to submit supplemental grounds. After review of the record, I find that the

defendant is not entitled to relief under § 2255.



                                           I

       Bruce Edward Baumgardner and more than 50 others were charged in this

case with conspiracy to distribute cocaine base and cocaine and related charges.

Baumgardner and one of his codefendants, Douglas Stallworth, stood trial together

before a jury.     On October 10, 2008, jurors found Baumgardner guilty of
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conspiracy to distribute and possess with intent to distribute 50 grams or more of

cocaine base and less than 500 grams of cocaine as charged (Count One); and

maintaining a place for the purpose of distributing a controlled substance (Count

Two). On appeal, the Judgment was affirmed. United States v. Stallworth, 466 F.

App’x 218 (4th Cir. 2012) (unpublished).

      In his § 2255 motion, Baumgardner alleges the following grounds for relief:

(1) the conviction was obtained through the use of coerced confessions and

testimony offered by codefendants in hopes of achieving a reduced sentence; (2)

the court erred when it failed to grant an acquittal after the government rested its

case; and (3) the evidence showed that Baumgardner was merely a drug user and

did not support his conviction for conspiracy to distribute drugs. Baumgardner

also requested, and was granted, additional time to submit a memorandum in

support of these claims, which he did.

      Shortly thereafter, Baumgardner submitted a pleading styled as a “NOTICE

OF FILING ADDITIONAL GROUNDS” to his § 2255 motion. In this pleading,

he alleged that: (4) imposing a special assessment of $100 under 18 U.S.C. § 3013

for each of his two felony convictions constituted double jeopardy, vindictive

sentencing, and excessive fines, because the sentences of imprisonment were

concurrent. I construe this submission as a Motion to Amend, which I will grant.




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      The government has moved to dismiss all of Baumgardner’s claims. The

court notified Baumgardner of the United States’ motion as required by Roseboro

v. Garrison, 528 F.2d 309 (4th Cir. 1975), and warned him that judgment might be

granted for the United States if he did not respond to the motion by filing affidavits

or other documents contradicting the United States’ evidence or otherwise

explaining the § 2255 claims. Baumgardner did not respond. The time allotted for

defendant’s response has expired, making the matter ripe for the court’s

consideration.



                                           II

      A federal defendant seeking collateral review under § 2255 ordinarily cannot

relitigate issues that have already been decided on direct review. Boeckenhaupt v.

United States, 537 F.2d 1182, 1183 (4th Cir. 1976) (noting that a § 2255 litigant

“will not be allowed to recast, under the guise of collateral attack, questions fully

considered” on direct appeal); Herman v. United States, 227 F.2d 332 (4th Cir.

1955) (finding that § 2255 motion may not raise questions that were fully

considered on appeal). Therefore, the district court may rightfully deny relief as to

claims that rely on such decided issues.

      All three of the claims raised in Baumgardner’s initial § 2255 motion rest on

his assertion that the evidence used to convict him was incredible and insufficient


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to support a finding of guilt. Because the Fourth Circuit has fully considered these

arguments and rejected them, this court cannot revisit the issues, recast as § 2255

claims.   On appeal, Baumgardner argued, as he does here, that the evidence

showed him to be merely a customer of the charged conspiracy, rather than a

coconspirator in the drug trafficking operation. The court of appeals “conclude[d]

that there was ample evidence to support the conviction.” Stallworth, 466 F.

App’x at 221-23.      Baumgardner also presented on appeal his argument that

recantations by certain witnesses undermined the validity of his conviction. Id.

Baumgardner argued that I erred in finding, at an evidentiary hearing, that the

witnesses’ recantations were not credible and thus did not support his Motion for a

New Trial. Id. at 223-24. Again, the Fourth Circuit found ample support in the

record for my ruling and upheld it. Id. at 224. This court is bound by the appellate

court’s determination that the evidence against Baumgardner was both credible and

sufficient to support his convictions. Accordingly, I must grant the Motion to

Dismiss as to Claims (1), (2), and (3).



                                                III

      Section 2255 is not intended to be a substitute for trial or appellate remedies

for challenging a conviction. Claims regarding trial or sentencing errors that could

have been, but were not, raised on direct appeal are barred from review under


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§ 2255, unless the defendant shows cause for the default and actual prejudice or

demonstrates that he is “actually innocent.” See Bousley v. United States, 523 U.S.

614, 622 (1998). Cause requires a showing that counsel provided constitutionally

ineffective assistance or that some “objective factor external to the defense”

hampered the defendant’s ability to raise a timely claim. 1 Murray v. Carrier, 477

U.S. 478, 488 (1986).

      The United States argues that Baumgardner has procedurally defaulted

Claim (4), raising constitutional challenges regarding the second special

assessment, and I agree. He failed to raise his claim at trial or on appeal and offers

no reason that he could not have done so.

      Baumgardner apparently asserts that deficient representation by counsel

should serve as cause to excuse his default as to Claim (4). To the contrary, I

cannot find that counsel had any viable argument that the assessment was

unlawful. By statute, the court must impose a special assessment of $100 for each

felony conviction a person has incurred. 18 U.S.C. § 3013(a)(2)(A). Because

Baumgardner stood convicted of two felonies, I imposed two special assessments

as authorized. These lawful assessments did not deprive the defendant of any


      1
         Baumgardner makes no showing of actual innocence. See Schlup v. Delo, 513
U.S. 298, 324, 327 (1995) (finding that to show actual innocence as means to overcome
procedural default, defendant must present “new reliable evidence” and “show that it is
more likely than not that no reasonable juror would have convicted him in the light of the
new evidence”).
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constitutionally protected right or indicate any vindictiveness in sentencing.

Counsel’s failure to raise meritless legal arguments cannot be grounds for relief

under § 2255 or for cause to excuse a procedural default of any other § 2255 claim.

I will grant the Motion to Dismiss as to Claim (4).



                                         IV

      Baumgardner has also filed a “MOTION TO JOIN ALL MOTIONS OF

CODEFENDANT-PETITIONER DOUGLAS LEE STALLW[O]RTH,” seeking to

adopt claims raised in Stallworth’s pending § 2255 motion. I must deny this

motion as futile. The majority of Stallworth’s claims allege ineffective assistance

of counsel. Baumgardner had his own court-appointed attorney during criminal

proceedings and fails to allege facts in support of any claim that his attorney was

ineffective in the manner that Stallworth alleges against his own counsel. The

other claims that Baumgardner apparently seeks to adopt from Stallworth’s § 2255

motion allege various court errors during the criminal proceedings.         Because

Baumgardner could have raised such errors at trial and on direct appeal, and fails

to show cause for his failure to do so, such claims are procedurally barred from

review in his § 2255 action. Bousley, 523 U.S. at 622.




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                                           V

      In conclusion, I will grant the Motion to Dismiss as to all of Baumgardner’s

claims. While I grant Baumgardner’s Motion to Amend to add Claim (4), I find

that this claim is procedurally barred and without merit. I find that Claims (1), (2),

and (3) are barred from review under § 2255 because these issues were litigated to

and decided by the Fourth Circuit on appeal. I also deny his motion seeking to join

in all claims raised by his codefendant.

      A separate Final Order will be entered herewith.

                                                 DATED: August 29, 2013

                                                 /s/ James P. Jones
                                                 United States District Judge




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